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                                   7                                 UNITED STATES DISTRICT COURT

                                   8                              NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                         IN RE: XYREM (SODIUM OXYBATE)
                                  10     ANTITRUST LITIGATION                               Case No. 20-md-02966-RS

                                  11
                                                                                            ORDER REGARDING PRECLUSION
                                  12    This Document Relates To: All Actions               OF EVIDENCE
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                                  15                                            I. INTRODUCTION
                                  16          “Attorney-client privilege issues lie at the heart of litigation over a settlement alleged to be

                                  17   anticompetitive when a party’s lawyers are the principal negotiators and advisors regarding the

                                  18   agreement.” In re Lidoderm Antitrust Lit., No. 14-md-2521-WHO, 2016 WL 4191612, at *1

                                  19   (N.D. Cal. 2016). At issue here is a motion by Class Plaintiffs (“Plaintiffs”) to preclude certain

                                  20   evidence at trial. They argue that, because Defendants asserted privilege at various points of this
                                       litigation, Defendants must be precluded from introducing evidence about topics related to the
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                                       privileged communications they previously withheld. For the reasons explained below, the
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                                       motion is granted in part and denied in part.
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                                                                                II. BACKGROUND
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                                              Plaintiffs first sought to preclude evidence informed by privileged attorney client
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                                       communications more than two years ago, when they asked Defendants to identify any subjective
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                                       beliefs they intended to introduce at trial. When Defendants did not respond, Plaintiffs moved to
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                                       compel such production. The magistrate judge assigned to this case denied that motion in a
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                                   1   decision that this court affirmed. At the time, it was noted that the “specter of implied waiver is

                                   2   not without merit” and that it was “preferable to clarify waiver ahead of trial, rather than resort to

                                   3   ‘innumerable side bars’ during trial.” Order, Dkt. No. 527 at 3 (quoting In re Zetia (Ezetimibe)

                                   4   Antitrust Litig., No. 2:18-md-2836, 2022 WL 4354620, at *5 (E.D. Va. Aug;. 15, 2022)).

                                   5          Plaintiffs later redoubled their efforts with a motion for preclusion of evidence about

                                   6   subjective beliefs based on attorney advice. The motion was denied without prejudice, and the

                                   7   parties were directed to file detailed witness disclosures to inform any renewed preclusion motion.

                                   8          Now filed, Defendants’ pretrial witness disclosures are the subject of the instant motion.

                                   9   According to Plaintiffs, eight topics identified in the disclosures touch on evidence over which

                                  10   Defendants have asserted privilege. These topics include:

                                  11      1. The business impact of pursuing and resolving the Xyrem patent litigations, as testified to

                                  12          by Bruce Cozadd, Jazz’s CEO, and P.J. Honerkamp, Jazz’s current Senior Vice President
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                                  13          and Head of Jazz’s Sleep Business Unit;

                                  14      2. Jazz’s patent litigations against ANDA filers that referenced Xyrem and the resources

                                  15          spent on or budgeted for the litigations, as testified to by Cozadd and Honerkamp;

                                  16      3. Jazz’s decision-making about whether to launch its own authorized generic of Xyrem, as

                                  17          testified to by Honerkamp;

                                  18      4. Business motivations and perspectives about settling the patent litigation, as testified to by

                                  19          Brian Hoffman, Hikma’s former President;

                                  20      5. Negotiations between Hikma and Jazz about the patent litigation, including the business

                                  21          strategy and considerations relating to the settlement negotiations, as testified to by

                                  22          Hoffman;

                                  23      6. Hikma’s business and commercial understanding of the settlement terms, including

                                  24          whether they allowed Jazz to launch its own AG during the exclusivity period, as testified

                                  25          to by Hoffman;

                                  26      7. Jazz’s legal right to launch its own Xyrem authorized generic, as testified to by

                                  27          Christopher Bonny, former Vice President of Marketing of Hikma Pharmaceuticals USA;

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                                   1      8. The relative negotiating positions of a reasonable pharmaceutical company in Jazz’s

                                   2          position versus reasonable pharmaceutical companies in the position of the ANDA filers at

                                   3          the times of the parties’ settlements, as well as whether various terms in the parties’ patent

                                   4          litigation settlements were unusual or commercially reasonable, as testified to by Robert

                                   5          Armitage, Defendants’ expert on the reasonableness of Jazz’s position during settlement.

                                   6          Plaintiffs say such evidence should be precluded from trial because Defendants have

                                   7   asserted privilege over approximately 17,000 documents related to the patents and their related

                                   8   litigation and another 7,500 documents regarding the settlements. Defendants also asserted

                                   9   privilege when their witnesses were asked during depositions about subjective beliefs relative to

                                  10   the patents, the infringement litigation, and the related settlements.

                                  11                                          III. LEGAL STANDARD

                                  12          “The attorney-client privilege is the oldest of the privileges for confidential
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                                  13   communications known to the common law.” Upjohn Co. v. United States, 449 U.S. 383, 389

                                  14   (1981) (citation omitted). Yet, “[t]he privilege . . . may not be used both as a sword and a shield”

                                  15   and “may be implicitly waived” if “a party raises a claim which in fairness requires disclosure of

                                  16   the protected communication.” Kaiser Found. Health Plan, Inc. v. Abbott Labs., Inc., 552 F.3d

                                  17   1033, 1042 (9th Cir. 2009) (citing Chevron Corp. v. Pennzoil Co., 974 F.2d 1156, 1162 (9th

                                  18   Cir.1992)). “In practical terms, this means that parties in litigation may not abuse the privilege by

                                  19   asserting claims the opposing party cannot adequately dispute unless it has access to the privileged

                                  20   materials.” Bittaker v. Woodford, 331 F.3d 715, 719 (9th Cir. 2003) (en banc) (citation omitted).

                                  21   The party asserting the claim is said to have implicitly waived the privilege.” Lidoderm, 2016 WL

                                  22   4191612, at *3 (N.D. Cal. 2016) (quoting Bittaker, 331 F.3d at 719). In that instance:

                                  23          [The] court imposing the waiver does not order disclosure of the materials
                                  24          categorically; rather, the court directs the party holding the privilege to produce the
                                              privileged materials if it wishes to go forward with its claims implicating them. The
                                  25          court thus gives the holder of the privilege a choice: If you want to litigate this
                                              claim, then you must waive your privilege to the extent necessary to give your
                                  26          opponent a fair opportunity to defend against it.
                                  27   Bittaker, 331 F.3d at 720.
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                                   1           In the Ninth Circuit, determining whether an implied waiver of the attorney-client privilege

                                   2   has occurred requires applying a standard from Hearn v. Rhay, 68 F.R.D. 574, 581 (E.D. Wash.

                                   3   1975). See Home Indem. Co. v. Lane Powell Moss & Miller, 43 F.3d 1322, 1326 (9th Cir. 1995).

                                   4   Under Hearn, implied waiver occurs when “(1) the party asserts the privilege as a result of some

                                   5   affirmative act, such as filing suit; (2) through this affirmative act, the asserting party puts the

                                   6   privileged information at issue; and (3) allowing the privilege would deny the opposing party

                                   7   access to information vital to its defense.” Id. at 1326. A component of the third Hearn prong

                                   8   involves examining whether privileged information “would be only one form of indirect

                                   9   evidence.” In re Geotherman Res. Int’l, 93 F.3d 648, 653 (9th Cir. 1996). In other words, “[t]he

                                  10   information sought must be directly relevant and necessary to allow a party to fully challenge the

                                  11   claims or defenses of the party asserting the privilege, and the information cannot be secured

                                  12   through other sources.” In re Lidoderm, 2016 WL 4191612, at *4.
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                                  13                                               IV. DISCUSSION

                                  14           At the outset, Defendants contend that evidentiary preclusion is warranted only if the

                                  15   privilege-holder asserts a claim or defense that “touch[es] directly upon the substance or content of

                                  16   an attorney-client communication.” In re Geotherman Res. Int’l, 93 F.3d at 653. In their view,

                                  17   merely “discuss[ing] the existence” of privileged communications does not effectuate an implied

                                  18   waiver; only “us[ing] their contents as a basis for any claims or defenses” can do so. Rich v. Bank

                                  19   of America, 666 F. App’x 635, 641–42 (9th Cir. 2016).

                                  20           Plaintiffs correctly reply that a party need not “utilize . . . privileged information to

                                  21   advance a claim or defense” in order for an implied waiver to occur. Bittaker, 331 F.3d at 720–21.

                                  22   Instead, the Hearn analysis recognizes that, “even if a party does not attempt to make use of a

                                  23   privileged communication, he may waive the privilege if he asserts a factual claim the truth of

                                  24   which can only be assessed by examination of a privileged communication.” Bowne, Inc. v.

                                  25   AmBase Corp., 150 F.R.d. 465, 488 (S.D.N.Y. 1993) (discussing a Second Circuit case that relied

                                  26   on Hearn). In Bowne itself, the court considered a situation in which a defendant’s attorneys

                                  27   played “a major role” in the delayed mailing of a proxy statement relevant to a stock purchase

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                                   1   agreement. Id. at 489. The defendant claimed the delay resulted from actions or inactions by the

                                   2   printer and the mailer, which the court found to have “put into issue the discussions that it had

                                   3   with its attorneys as to the arrangement, preparation and printing of the materials, as well as the

                                   4   actions of the attorneys, including their instructions to other participants concerning the timing and

                                   5   management of the events leading to the mailing[.]” Id. Because the defendant had asserted

                                   6   privilege over those actions and communications, the situation presented “at least an arguable

                                   7   basis for a waiver,” id. at 489, and the court therefore ordered the defendant to produce certain

                                   8   documents. Id. at 492.

                                   9          The Bowne analysis is a useful guide in this instance, where—based on the robust privilege

                                  10   log and repeated privilege assertions during depositions—Defendants’ attorneys appear to have

                                  11   played a major role in the allegedly anticompetitive reverse-payment settlement agreement at the

                                  12   heart of this case. Defendants having disclosed the intent to discuss their reasons for settling the
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                                  13   at-issue litigation, the discussions they had with their attorneys about those same topics are now at

                                  14   issue. As the Lidoderm court observed, “when the record shows that attorney-client advice played

                                  15   a significant role in formulating a party’s subjective beliefs on central issues in the case, the

                                  16   adversaries are entitled to disclosure of the otherwise privileged material and to test the credibility

                                  17   of those subjective beliefs.” 2016 WL 4191612, at *1. That said, “if a party relies solely on

                                  18   objective evidence, or subjective beliefs derived exclusively from business judgment and

                                  19   experience, the attorney-client privilege should be protected.” Id.; see also Home Indem., 43 F.3d

                                  20   at 1327 (“[S]o long as the reasonableness of the settlement amount was defended at trial on

                                  21   objective terms apart from the advice of counsel, the attorney-client privilege would be

                                  22   protected.”).

                                  23          Here, like in Lidoderm, “[t]here is no doubt—given the question at issue is whether

                                  24   anticompetitive goals motivated [D]efendants’ settlement—that business advice and non-legal

                                  25   facts were considered by settlement decisionmakers.” 2016 WL 4191612, at *5. “But if

                                  26   [D]efendants inject their subjective beliefs on specific topics as part of their defense of the []

                                  27   settlement—like a subjective belief that patent litigation is inherently uncertain—where evidence

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                                   1   establishes that the subjective belief was also informed by attorney advice, it would be unfair to

                                   2   not allow [P]laintiffs access to [D]efendants’ contemporaneous attorney-client information to test

                                   3   the veracity of the [D]efendants’ justifications in this litigation even though that belief is based in

                                   4   part on business judgment and executive experience.” Id.

                                   5          The above principles guide the following Hearn analysis, which examines each disclosed

                                   6   topic for witness testimony that Plaintiffs seek to preclude. “[I]f defendants choose to rely on a

                                   7   subjective belief identified below that the record shows directly implicate[s] attorney-client

                                   8   advice, defendants will have effectuated an at-issue waiver for that belief and will be required to

                                   9   produce withheld privileged documents” about that belief. Id. at 6.

                                  10          A. Cozadd and Honerkamp

                                  11               1. Topic 1

                                  12          Defendants expect Cozadd and Honerkamp to testify about “the business impact (including
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                                  13   market, investor, and financial) of pursuing and resolving the Xyrem patent litigations, including

                                  14   the impact of developments in the litigation on Jazz’s business.” Dkt. No. 871-2 at 5, 13.

                                  15   Defendants concede that these witnesses may have received legal advice about the litigations but

                                  16   assure the court that their testimony “will not rely on, disclose, or be informed by that advice.” Id.

                                  17   In opposing Plaintiffs’ motion to preclude such testimony, Defendants reiterate that “Cozadd will

                                  18   not testify about his ‘subjective beliefs’ informed by attorney advice regarding the ‘merits of the

                                  19   underlying patents and patent infringement litigation’ or ‘why Jazz sought certain settlement

                                  20   provisions’ with the later ANDA filers.” Opp. Br. at 9 (quoting Mot. at 7, 12). They also cite

                                  21   Kaiser for the proposition that “a defendant in a reverse payment case did not waive privilege by

                                  22   presenting that the reason the company settled was that it did ‘not want to undertake the business

                                  23   risk’ of launching its generic drug before patent litigation was resolved. Id. at 10 (citing 552 F.3d

                                  24   at 1043).

                                  25          What Defendants elide is the extent to which attorney advice played a role in these

                                  26   witnesses’ understanding of the Xyrem patent litigations—unlike in Kaiser, where evidence

                                  27   demonstrated that a generic company’s decision not to launch its product during pending litigation

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                                   1   was undertaken “without regard to, or even contrary to, what counsel advised.” 552 F.3d at 1043.

                                   2   Here, the record shows both Cozadd and Honerkamp confirming in depositions that attorney

                                   3   advice informed their beliefs about the litigations and developments therein. Jazz’s counsel,

                                   4   however, instructed them not to answer questions about what their attorneys said based on

                                   5   privilege grounds. See Ex. C, Dkt. No. 875-3, at 2–5, 15–16, 24 (excerpts of depositions in which
                                       Cozadd and Honerkamp were told not to answer questions about the strengths and weaknesses of
                                   6
                                       Jazz’s patents and the witness’s subjective views thereof). Jazz’s decision to withhold as
                                   7
                                       privileged nearly 17,000 documents about the settlement likewise confirms that attorney advice
                                   8
                                       informed Cozadd and Honerkamp’s views about the topic of their expected testimony. To be sure,
                                   9
                                       non-privileged evidence is available on this topic, including pleadings and expert reports from the
                                  10
                                       litigations as well as company-wide emails, communications with industry participants, and
                                  11
                                       reports by certain analysts. Yet “defendants cannot avoid waiver by offering to rely at . . . trial
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                                       solely on non-legal justifications for certain subjective beliefs.” Lidoderm, 2016 WL 4191612, at
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                                  13
                                       *5. Even if some of their testimony is based solely on business judgments or available analyst
                                  14
                                       reports, “the problem is that in order to test the veracity of [a] belief. . . . other justifications that
                                  15
                                       plaintiffs have shown relied on attorney-client advice are also directly implicated.” Id. In other
                                  16
                                       words, Defendants are essentially saying “Trust us. The justifications we are putting forward here
                                  17   are why we settled.” Id. To rebut such assertions, Plaintiffs must, in all fairness, “be given access
                                  18   to contemporaneous information regarding those topics that necessarily implicate attorney-client
                                  19   advice.” Id.
                                  20           As to Topic 1, Plaintiffs’ motion is granted. Unless Defendants agree to produce withheld
                                  21   privilege documents, they are precluded from introducing testimony by Cozadd and Honerkamp
                                  22   regarding their subjective beliefs as to why Jazz settled—including any beliefs about business
                                  23   impacts that implicate attorney-client advice regarding the litigation or the strength of the

                                  24   underlying patents. That said, information about business impact may be admissible if presented

                                  25   through objective evidence, such as pleadings and analyst reports, company-wide emails, or

                                  26   industry communications, without touching on fact witnesses’ individual beliefs.

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                                   1              2. Topic 2

                                   2          Defendants also expect Cozadd and Honerkamp to testify about “Jazz’s patent litigations

                                   3   against ANDA filers referencing Xyrem (including patent office proceedings)” and “the resources

                                   4   spent on and budgeted for the litigations.” Dkt. No. 871-2 at 7, 15. As to this topic, Defendants

                                   5   declare that the witnesses will testify only about objective facts, not their own beliefs. Plaintiffs

                                   6   reply that they have no objection to Jazz’s “limit[ing] of the testimony to recitations of the

                                   7   objective facts of the patents and patent litigations.” Reply Br. at 10–11. They also have no

                                   8   objection to testimony as to what the actual and expected litigation costs were. Id. at 11. Despite

                                   9   waiving the above objections, Plaintiffs reserve the right to object at trial to any testimony that

                                  10   directly states or implies the subjective views of Jazz, Cozadd, or Honerkamp. Id. Their motion

                                  11   as to Topic 2 is therefore denied without prejudice.

                                  12              3. Topic 3
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                                  13          Defendants’ disclosures reveal that they expect Cozadd and Honerkamp to discuss “Jazz’s

                                  14   decision-making regarding whether to launch its own authorized generic of Xyrem.” Dkt. No.

                                  15   871-2 at 8, 16. Plaintiffs apparently seek to preclude only Honerkamp’s testimony on this issue.

                                  16   Motion at 4 (mentioning Honerkamp but not Cozadd); but see Motion at 11 (requesting preclusion

                                  17   of this topic while noting that Cozadd and Honerkamp both disclosed it). They argue that a

                                  18   critical component of their claims is that Jazz and Hikma negotiated settlement terms that made it

                                  19   highly unlikely Jazz would launch its own generic to compete with Xyrem and Hikma’s generic.

                                  20   Because Defendants have withheld as privileged thousands of documents related to that

                                  21   settlement, Plaintiffs contend that Honerkamp must be precluded from testifying about the

                                  22   decision-making that flowed from it.

                                  23          As the Lidoderm court noted, “reasons, explanations, and intentions” for a settlement, like

                                  24   “beliefs about the impact on competition,” are topics that “appear to necessarily implicate

                                  25   attorney-client advice because that payment [via the settlement] was a key, if not the central, term

                                  26   of the [] settlement negotiated by defendants’ counsel.” 2016 WL 4191612, at *10. Here,

                                  27   testimony about Jazz’s decision-making regarding whether to launch an authorized generic

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                                   1   likewise puts attorney advice at issue. For example, Jazz asserted privilege when Plaintiffs asked

                                   2   Cozadd about certain settlement provisions and when they asked Honerkamp about how the

                                   3   parties reached the royalty rates in the agreement. See Ex. C., Dkt. No. 875-3, at 15–16, 24.

                                   4   Thus, for the same reasons discussed above regarding Topic 1, Plaintiffs’ motion to preclude

                                   5   Honerkamp from testifying about Jazz’s decision-making regarding whether to launch its own

                                   6   authorized generic of Xyrem is granted. If Defendants endeavor to introduce such testimony, they

                                   7   will be required to disclose relevant documents previously withheld as privileged. However,

                                   8   objective evidence about such decision-making may be admissible.

                                   9          B. Hoffman and Bonny

                                  10              1. Topics 4 and 5

                                  11          Defendants’ disclosures indicate that Hoffman will testify about “negotiations between

                                  12   Hikma and Jazz regarding the patent litigation, including the business strategy and considerations
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                                  13   relating to those settlement negotiations,” as well as “Hikma’s business motivations and

                                  14   perspectives regarding settlement of the patent litigation.” Dkt. No. 871-2 at 11. Like Cozadd and

                                  15   Honerkamp, Hoffman was instructed not to answer numerous questions about the patent litigation

                                  16   and his views thereof. See generally, Ex. G, Dkt. No. 875-7 (containing deposition excerpts in

                                  17   which Hoffman invoked privilege to avoid answering questions about Hikma’s position in the

                                  18   patent litigation). Plaintiffs also highlight Hoffman’s prior deposition testimony that “legal was

                                  19   one component” of why Hikma settled, Mot. at 16, arguing that he cannot testify about business

                                  20   considerations that combined with legal considerations (over which privilege was asserted) to

                                  21   result in settlement without waiving privilege over those legal considerations.

                                  22          As the Lidoderm court recognized, testimony about whether generic entry would be

                                  23   “early” would directly implicate attorney advice about the patent litigation and settlement. 2016

                                  24   WL 4191512, at *10. Even with otherwise objective evidence about the negotiations available,

                                  25   Plaintiffs would suffer manifest unfairness if foreclosed from examining Hoffman’s subjective

                                  26   views about why (and when) Hikma settled. Their motion to preclude Hoffman’s testimony on

                                  27   this topic is therefore granted. If Defendants seek to introduce his subjective views about the

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                                   1   settlement negotiations, they will be required to turn over relevant privileged materials. As with

                                   2   the topics described above, however, objective evidence as to this topic may be admissible.

                                   3              2. Topics 6 and 7

                                   4          Hoffman is also expected to testify about “Hikma’s business and commercial

                                   5   understanding of the agreed-upon settlement terms, including whether the settlement documents

                                   6   allowed for Jazz to launch its own AG during the exclusivity period.” Dkt. No. 871-2 at 12.

                                   7   Bonny, meanwhile, is expected to testify about “Jazz’s right to launch its own authorized generic

                                   8   of Xyrem.” Dkt. No. 871-2 at 4. Plaintiffs do not object to objective descriptions of the

                                   9   settlement terms but maintain their concerns about any testimony regarding Hikma’s beliefs—

                                  10   including its view as to whether Jazz would launch its own authorized generic.

                                  11          As to Hoffman, Plaintiffs have sufficiently demonstrated that Defendants asserted

                                  12   attorney-client privilege during relevant portions of his deposition and over certain documents he
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                                  13   drafted. Unless Defendants agree to waive that privilege, it would be manifestly unfair to permit

                                  14   Hoffman to testify as to subjective beliefs about the settlement. Plaintiffs’ motion as to this

                                  15   component of Hoffman’s testimony is therefore granted. As to Bonny, however, Plaintiffs have

                                  16   failed to show that Defendants asserted privilege over his views about Jazz’s right to launch its

                                  17   own generic, nor that such views were even informed by counsel. Plaintiffs’ motion as to Bonny’s

                                  18   testimony is therefore denied without prejudice.

                                  19          C. Armitage and Topic 8

                                  20          Defendants disclosed that expert witness Armitage will testify about “relative negotiating

                                  21   positions of a reasonable pharmaceutical company in Jazz’s position versus reasonable

                                  22   pharmaceutical companies in the position of the ANDA filers at the times of the parties’

                                  23   settlements, as well as whether various terms in the parties’ patent litigation settlements were

                                  24   unusual or commercially reasonable.” Dkt. No. 871-2 at 20. Plaintiffs complain that allowing this

                                  25   expert to discuss what he would expect a company in Hikma’s position to say or do is the

                                  26   functional equivalent of allowing him to testify about Hikma’s own beliefs—testimony that

                                  27   Plaintiffs could not challenge without access to privileged information.

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                                   1          As in Lidoderm, Armitage can testify about how a “rational market observer” would have

                                   2   perceived various statements. No. 14-md-2521-WHO, Dkt. No. 795 at 5 (July 17, 2017). He

                                   3   cannot, however, “suggest[]” what Defendants actually believed. Id. at 4. As noted in earlier

                                   4   rulings, “[t]he most efficient path here is to defer decisions about state of mind testimony to trial,”

                                   5   allowing for objections as need arises. Dkt. No. 778 at 27 (citing In re Juul Lab’ys, Inc. Mktg.,

                                   6   Sales Pracs. & Prods. Liab. Litig., 2022 WL 1814440, at *14 (N.D. Cal. June 2, 2022)).

                                   7   Plaintiffs’ motion is therefore denied without prejudice.

                                   8                                              V. CONCLUSION

                                   9          For the reasons explained above, Plaintiffs’ motion is granted in part and denied in part

                                  10   without prejudice. Although Plaintiffs urge the court to preclude the identified testimony without

                                  11   providing Defendants the opportunity to produce documents previously withheld as privileged,

                                  12   such a path would unfairly hamper Defendants’ arguments at trial. At the same time, allowing
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                                  13   such production, Defendants suggest, might trigger the need to continue trial, depending upon the

                                  14   nature of any follow-up depositions of Cozadd, Honerkamp, and Hoffman. To resolve this issue

                                  15   properly, Defendants are to submit a brief within 7 days of this order electing whether to produce

                                  16   the documents identified in Plaintiff’s motion so as to avoid preclusion. See Mot. at 20. If they

                                  17   agree to produce the documents, the parties are directed to meet and confer regarding what

                                  18   discovery remains necessary. Given the relatively narrow universe of at-issue topics and

                                  19   witnesses, there is no present need to continue trial.

                                  20

                                  21   IT IS SO ORDERED.

                                  22

                                  23   Dated: March 19, 2025

                                  24                                                     ______________________________________
                                                                                         RICHARD SEEBORG
                                  25                                                     Chief United States District Judge
                                  26
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